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                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

  UNITED STATES OF AMERICA                        §
                                                  §
                                                  §       CASE NUMBER 6:21-CR-0025-JDK
  v.                                              §
                                                  §
                                                  §
  JUSTIN TRENT STEWART (9)                        §
                                                  §

                 ORDER ADOPTING MAGISTRATE JUDGE’S FINDINGS
                OF FACT AND RECOMMMENDATION ON GUILTY PLEA

        The Court referred this matter to the Honorable K. Nicole Mitchell, United States

 Magistrate Judge, for administration of a guilty plea under Federal Rule of Criminal Procedure 11.

 The Magistrate Judge conducted a hearing in the form and manner prescribed by Rule 11 and

 issued Findings of Fact and Recommendation on Guilty Plea.                 The Magistrate Judge

 Recommended that the Court accept Defendant’s guilty plea and adjudge Defendant guilty on

 Count Twenty of the Indictment.

        The parties have not objected to the Magistrate Judge’s findings.

        The Court hereby ADOPTS the Findings of Fact and Recommendation on Guilty Plea of

 the United States Magistrate Judge. The Court also accepts Defendant’s plea but defers acceptance

 of the plea agreement until after review of the presentence report.

        In accordance with Defendant’s guilty plea, the Court finds Defendant Justin Trent Stewart

 GUILTY of Count Twenty of the Indictment, charging a violation of Title 18 U.S.C. § 924(c) –

 Use, Carrying and Possession of a Firearm During and in Furtherance of a Drug Trafficking Crime.

        So ORDERED and SIGNED this 3rd             day of December, 2021.



                                                   ___________________________________
                                                   JEREMY D. KERNODLE
                                                   UNITED STATES DISTRICT JUDGE
